Case 2:04-Cr-20017-BBD Document 357 Filed 07/21/05 Page 1 of 3 Page|D 740

 

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Piaintifr,

vs. Case No. 04-20017-D

RANDE LAZAR, M.D., dlbla
OTOLARYNGOLOGY
CONSULTANTS OF MEMPHIS,

Defendant.

 

ORDER

 

The United States of America has moved for an order extending time to file its
response to the Magistrate’s Report and Recommendation dated June 13, 2005. The United
States has stated that the defendant has no objection tothe United States’ request to file its
response on or before Ju|y 28, 2005. The United States has also stated that it has no
objection to the defendants request to file his reply to the United States’ response on or

before August 31, 2005.

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Case 2:04-Cr-20017-BBD Document 357 Filed 07/21/05 Page 2 of 3 PagelD 741

lt appearing that the interests ofjustice will be served by granting the extensions to both
parties, and good cause appearing therefor, the United States’ and the defendant’s requests
for extension are granted.

lt is so 0RDERED, this a?@ of July, 2005.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 357 in
case 2:04-CR-200]7 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

